     Case 1:07-cv-01080-LJO-GSA Document 361 Filed 04/16/10 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   ROGER McINTOSH,                                         CASE NO. CV F 07-1080 LJO GSA
12                          Plaintiff,                       ORDER ON PLAINTIFF’S F.R.Civ.P. 37(c)(2)
                                                             MOTION FOR ATTORNEY FEES
13          vs.                                              (Doc. 360.)
14   NORTHERN CALIFORNIA
     UNIVERSAL ENTERPRISES,
15   INC., et al,
16                          Defendants.
                                                  /
17
18          This Court VACATES plaintiff’s F.R.Civ.P. 37(c)(2) motion for attorney fees and the May 13,
19   2010 hearing on the motion. This Court deems the motion premature given potential post-trial motions
20   and rulings thereon. Defendants need not respond to the motion at this time. If appropriate, plaintiff
21   may refile the motion pending the outcome of post-trial motions. If plaintiff refiles the motion, this
22   Court ADMONISHES plaintiff specifically to: (1) attribute and allocate attorney fees that flow directly
23   from denial of requests for admission and need to prove denied requests for admission; and (2)
24   demonstrate calculation of reasonable fees. This Court will not accept a mere splitting of all fees
25   incurred since denial of the requests of admission, as plaintiff currently proposes. This Court also will
26   not comb through billings to ascertain reasonableness or need for incurred attorney fees. The clerk is
27   directed to term doc. 360.
28          IT IS SO ORDERED.

                                                         1
     Case 1:07-cv-01080-LJO-GSA Document 361 Filed 04/16/10 Page 2 of 2


 1   Dated:   April 15, 2010              /s/ Lawrence J. O'Neill
     66h44d                           UNITED STATES DISTRICT JUDGE
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           2
